Case 4:22-cv-00559-ALM Document 30-7 Filed 11/06/23 Page 1 of 4 PageID #: 565
" lie Law Offices f
                                                          EXHIBIT G
Mark Dominic G osso                                                        Office 214.699.1529
877 - 6400 - LAW                                                           Fax: 214.699.0234
                                                                           Email Office@LawSignal.com


August 30, 2023

Jennifer L. Ryan
407 E. Tyler Street
Richardson, Texas 75081

Vi Em il to: JennyRyanRealty@Gmail.com

                  Re: Engagement | Case No. 4:22-CV-00559, Jen a y an et al v. P yP l Holding
        Company, In the United States District Court for the E stern District of Tex s.

De r Jenn Ry n:

        Sincere thanks for t king the time to speak with me reg rding this matter that is presently
pending federal arbitration. We h ve reviewed your case nd concluded that it would be our distinct
privilege to represent you in this m tter going forward should it be returned to the Court for final
disposition.

       As discussed, we agree to proceed on contingency fee basis of 25% of any settlement
recovery. Fees in ddition to ti s mount m y also be required upon conclusion, including but not
limited to citation issuance, service of process, subpoena ser ice, witness fees, deposition(s), expert
witnesses, and other essential costs that may rise or be required.

        I h ve enclosed a Proposed Agreement for your review and approval. If dais is cceptable to
you, please sign nd retu at your earliest opportunity. Thank you for selecting our firm to assist you
during this ch llenging time.




cc: AM, AB
   Client/File

Enclosures: As indicated




                    Office Address                                        Mail Only
               MOE. Main Street, Suite 200                   6101 Long Prairie Road, Suite 744-300
                Lewisville, Texas 75077                          Flower Mound, Texas 75028
                                             www.LawSignal.com
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TheL aw Off|ces OF

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877 ~ 6400 - LAW                                                             Fax:                   214.699.0234
                                                                             Email         Office@LawSignal.com


August 30, 2023

Jennifer L. Ryan
407 E. Tyler Street
Richardson, e as 75081

Via Em il to: JennyRy nRealty@Gmail.com

                  Re: Engagement | C se No. 4:22-CV-00559, Je/r/ia Rya/i et al v. P yPal Holding
        Company, In the United St tes District Court for the Eastern District of Texas.


De r Jenna Ry n:

        Sincere th nks for talcing the time to speak with me reg rding this matter that is presently
pending federal rbitration. We have reviewed your c se and concluded that it would be our distinct
privilege to represent you in this m tter going for ard should it be returned to the Court for final
disposition.

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recovery. Fees in addition to ti s amount may also be required upon conclusion, including but not
limited to cit tion issuance, service of process, subpoena service, witness fees, deposition(s), expert
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cc: AM, AB
   Client/File

Enclosures: As indicated




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  ile Law Offices f

Mark Dominic Grosso                                                        Office                 214.699.1529
877 - 6400 - LAW                                                           Fax:                   214.699.0234
                                                                           Email         Office@LawSignal .com



                                           Employment Agreement

JENNA RYAN , ("Client") requests and uthorizes The L w Offices of
M rk Dominic Grosso ("Attorney") to represent him/her in the following matter
CasCase No. 4:22-CV-00559, Jenna Ryan et al v. PayPal Holding Ci.

   1. Attorney agrees to exercise his best efforts and profession l ability and will consult with Client
       on n ongoing basis regarding m jor decisions rel ting to this m tter, including trial or
       settlement.


   2. Client agrees to cooperate with Atto ey and assist Attorney with preparing die c se as
       Attorney requests.

   3. Client agrees not to do any ct th t impairs the v lue of the case.

   4. Client agrees not to settle the case widiout Attorney s p rticipation and consent.

   5. Client agrees not to speak to others or consult otiier l wyers about the case.

   6. Client grees to pay costs of investigation, out-of-pocket costs nd expenses
          ON A MONTHLY BASIS AS THEY ARE BILLED
          BY REMITTING $ PER MONTH @ OTHER ARRANGEMENT.

   7. Client agrees to pay Attorney’s fee for profession l services as follows: 25 % of ny
      setdement or recovery, and 40 % if the case is ppealed. Further, if, t the time die case
      is setded or judgment is p id. Client owes Attorney for ny expenses or other items. Lawyer
      may deduct diat sum from die mount to be paid to Client. The percentage recovery will be
      c lcul ted | | BEFORE |m|AFTER outstanding medical bills, expenses and costs of suit are
      deducted.

   8. Attorney will not settle Client's claim widiout the pprov l of Client, who will h ve die
       bsolute right to ccept or reject any settlement. Atto ey will notify Client prompdy of die
      terms of ny settlement offer received by Attorney.

   9. If Client m kes no recovery, Client owes Attorney notiiing for legal services but must pay
      expenses.


   10. If Client decides to terminate die case fter Attorney has provided substantial legal ser ices.
      Client must pay Attorney a sum equal to the probable fee, to be determined by panel of die
      American Arbitration Association. Lawyer will bear die cost of die rbitr tion.




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     11. Attorney will have a lien for Attorney's fees and costs adv nced on ll claims and c uses of
          ction that are die subject of represent tion of Client under this greement and on ll proceeds
          of ny recove y obtained (whether by settlement, arbitration award, or court judgment).

     12. Client may discha ge Attorney t any time by written notice effective when received by
        Attorney. Unless specifically agreed by Attorney nd Client, Attorney will provide no furdier
        services and advance no furdier costs on Client's behalf after

     13. Attorney may wi idraw at ny time as permitted under die Rules of Professional Conduct.
         The circumstances under which the Rules permit such witiidrawal include, but re not limited
          to, die following: (a) The client consents, and (b) die client's conduct renders it unreason bly
         difficult for die attorney to carry out the employment effectively. Notwithstanding Attorney's
         witiidrawal. Client will be obligated to pay Attorney out of the recovery a reason ble ttorney's
         fee for all services provided, and to reimburse Attorney out of the recovery for all costs
         advanced before die witiidrawal. If there is no recovery, or die recovery is insufficient to
         reimburse Attorney in full for costs adv nced. Attorney will bear die loss.

     14. Attorney reserves die right to terminate this contract if at any time he/she concludes tii t die
         claim is witiiout merit.

     15. Client grees tiiat Attorney cannot promise or guar ntee a particular result.

     16. Client fully understands that Client may select any attorney of Client s choice, nd tiiat by
         signing tiiis Agreement, Client has willingly and freely chosen The Law Offices of Mark
         Dominic Grosso to represent Client, without solicit tion, undo influence, barratry or
         encouragement. Client agrees tiiat this Agreement is fair and was not made through undue
         influence or pressure.

     17. This agreement represents die full agreement between Client and Attorney. No otiier
         greement, written or oral, exists, and discussions bet een Client and Attorney tiiat are not
         set forth in tiiis agreement are not part of tiiis agreement.

     18. If Client and Attorney agree to change any term in tiiis agreement, the agreed-to ch nge must
         be in writing and signed by both parties.

I,   , acknowledge tiiat I have read this                                                       greement fully,
understand its terms., and agree to them. I received a copy of the agreement when I signed it.




Client                                                                                      D te




Attorney                                                                                    D te

  The State Bar of Texas investigates and prosecutes professional misconduct committed by Texas Attorneys. Althou h not every
 complaint against or dispute with a lawyer involves professional misconduct. The State Bar s Office of General Counsel will provide
               you with information about how to file a co plaint. Please call 1-800-932-1900 for more information.
